Case 2:21-cr-00067-JAW Document 1-1 Filed 04/30/21 Page1lof4 PagelD#: 2

AFFIDAVIT IN SUPPORT OF APPLICATION FOR CRIMINAL COMPLAINT

I, Jonathan A. Duquette, being first duly sworn, hereby state as follows: |

INTRODUCTION AND INVESTIGATOR BACKGROUND

1, I make this affidavit in support of an application for a criminal complaint
charging Andrew Hazelton with possession of child pornography, in violation of 18 U.S.C.

§ 2252A(a)(5)(B).

2. Lam a Task Force Officer with the Federal Bureau of Investigation (FBI). I have
been in this position since June 2015, and J have been a Task Force Officer in FBI’s Boston
Division since January 2018. I am also a Border Patrol Agent with the U.S. Border Patrol and
have been in this position since December 2009. In my career, I have utilized various
investigative tools and techniques, to include the use of search warrants.

3. I am an investigative or law enforcement officer of the United States within the

meaning of Section 2510(7) of Title 18, United States Code, and am empowered by law to

 

conduct investigations of and to make arrests for federal criminal offenses.
4. This affidavit is intended to show merely that there is sufficient probable cause

for the requested complaint. The facts set forth in this affidavit are based upon my personal

 

knowledge, information obtained during my participation in this investigation including

information provided by other investigators, my review of documents and computer records

 

related to this investigation, and information gained through my training and experience.
PROBABLE CAUSE

5. On April 28, 2021, I obtained search warrants for 25 Elmwood Street in Portland,

 

Maine, and for the person of Andrew Hazleton. A copy of my affidavit in support of the warrants

is attached as Exhibit 1 and incorporated here.

 
Case 2:21-cr-00067-JAW Document 1-1 Filed 04/30/21 Page2of4 PagelD#: 3

6. On April 29, 2021, at about 11:20 a.m., other FBI investigators and I executed the

search warrants at 25 Elmwood Street in Portland. We encountered Andrew Hazelton just after

 

he left the residence.
7. I informed Hazelton that we had search warrants for his person and his residence. :
He took a mobile phone out of the left front pocket of his pants and handed it to me. The phone

was later identified as a Samsung Galaxy $21 5G smartphone. The phone had been named

 

“Andrew’s $21.”
8. The Samsung phone was locked when Hazelton handed it over. I informed him

that the search warrant permitted us to place his fingers on the phone to unlock it. After initially

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refusing to do so, he eventually placed one of his thumbs on the phone and it unlocked.

9. An analysis of the phone on-scene revealed a folder named “1488” in the Gallery
application of the phone. The 1488 folder contained many video files. Among the files were
dozens that depicted minors engaging in sexually explicit conduct. One such video had the file

name 2020-08-05 20.36.19.mp4. The video, which was 14 seconds long, depicted a young girl,

 

approximately six or seven years old, holding an adult male penis in her right hand. The girl then
performed oral sex on the male while the male patted her head. The same girl was depicted in at

least two other videos that were in the same folder. A still image taken from the video described

 

above is attached under seal as Exhibit 2.

10. The file path for the video described in Paragraph 9, as revealed by looking at the

 

“Details” entry for the file, was /internal storage/ MEGA/MEGA Downloads/1488. From my
training and experience, as well as publicly available information on the internet, I know that
Mega is a cloud storage and file-hosting service offered by Mega Limited, a company based in

New Zealand. Users can access the service both from their computers and their mobile devices.
Case 2:21-cr-00067-JAW Document 1-1 Filed 04/30/21 Page3o0f4 PagelD#: 4

Hazelton’s phone contained the MEGA mobile application. However, it was password-protected,
and investigators were not immediately able to access it.

11. Based on information provided by the U.S. Attorney’s Office for the District of
Maine, I am aware that courts have concluded that an image is transported in interstate
commerce if it transmitted over the internet. 1 am also aware that use of the internet is a facility
or means of interstate commerce. Based on the file information associated with the video files on
Hazelton’s phone, including the reference to the MEGA file-sharing service, I submit that
probable cause exists to believe that Hazelton downloaded the video files depicting minors
engaged in sexually explicit conduct, including the file described in Paragraph 9, to his Samsung
phone via the internet.

CONCLUSION

12. Based on the forgoing, I submit that probable cause exists to believe that on April
29, 2021, Andrew Hazelton knowingly possessed a Samsung mobile phone containing images of
child pornography that had been transported using any means or facility of interstate or foreign
commerce, and in or affecting interstate or foreign commerce, in violation of 18 U.S.C.
§ 2252A(a)(5)(B). I respectfully request that the Court issue a criminal complaint charging him

with this offense.

 

 

 

 

 

 

 

 

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Case 2:21-cr-00067-JAW Document 1-1 Filed 04/30/21 Page4of4 PagelD#:5

Dated at Portland, Maine this 29th day of April, 2021.

Sworn to telephonically and signed
electronically in accordance with the
requirements of Rule 4.1 of the Federal Rules
of Criminal Procedure

Apr 30 2021

Date:

Portland, ME

City and state:

 

 
   

Jonathan A. Duquette
Task Force Officer
Federal Bureau of Investigation

 

Judge's signature

John Hy Rich Hl, U.S. Magistrate Judge

 

Printed name and title

 

 

 

 

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